Exhibit B
Third Report on the Status of Education Services for Youth
Aged L6-2t at Rikers Islan d t 2




Peter E. I-eone, Ph.D. Special Master

Handberry et al,, v, Thompson,96 Civ.              6l6l (GBD) (JCF)         July 2,2018




l This report was prepared with the cooperation of the      NYC Department of Correction and   the NYC Department of
Education.
2
    This report corrects an error in the original report issued June 28'   20t8'
                                                                                          Education Report, July 201g
                                                                                                                 p. 1
Executive Summary

   o   The NYC Department of Education (DOE) through the East River Academy (ERA)

       provides education to inmates aged 17 to     2l   at seven correctional facilities operated by

       the Department of Correction (DOC) on Rikers Island.
   o   The DOC and DOE are in substantial compliance with two, and partial compliance with
       three of the five provisions of the Court's March 31,2016 order.
   o   Sixteen and I7 year-old students receive an average of five hours of education services
       each day.

   o   Some    l8 to 2l year-old   students receive an average of three hours of education services

       each day.

   o   Sixteen and 17 year-old students in restrictive housing on average receive more than
       three hours of instruction each day. Older students, those aged      l8 to 21 in restrictive
       housing do not receive three hours of instruction each day.
   .   Approximately 28Yo of the students enrolled in the East River Acadenty receive special
       education services. The quality of special education services for 18 to 21 year-old
       students on restrictive housing is compromised by late arrivals and early dismissals.

   o   SEPs developed by DOE staff are comparable to the IEPs developed for students prior to

       their incarceration. Students with SEPs receive services and supports as specified on their
       plans with the exception of older students in restrictive housing.

   o   In general, students receive appropriately tailored instruction when in school.




Introduction

       This is the third semi-annual report in response to the order entered by United States

District Judge Daniels on March 31,2016 in Handbety v. Thompson. Most recently, on

February 9,2018, the Court so ordered the parties to confer with the Special Master to discuss

outstanding issues prior to issuing this Third Report. The Court also ordered that the Special

                                                                             Education Report, July 2018
                                                                                                      p.2
Master submit this report to the Court by June 29,2018 and the parties' submit their responses to

the Second and lor Third Reports by August 31,2018.


        Following the submission of the Second Report to the Court and the parties on December

19,2017, I requested attendance sheets for education services on the restricted housing units for

January (OBCC) and February (GRVC). On March 15 and 16,20181 visited Rikers Island to

follow up on three provisions that I identified   as areas of partial compliance in my Second

Report. During the March visit I conferred with education and DOC staff, observed classes, and

interviewed students. On April 30,2018, I met with the parties in mid-town Manhattan for two

hours to discuss my most recent visit to Rikers, and outstanding issues in the case. I also listened

to issues raised by the parties and responded to questions and comments about data analysis and

reporting. In this Third Report to the Court, I summarize my findings from my visits during the

past two years, note the status of compliance for each provision, and comment on outstanding

issues. I conclude with several recommendations.


Status of Compliance with the Court's March 3l'2016 Order


        Correctional facilities can be challenging environments in which to provide services.

Institutional culture shapes the quality of and access to education. Security, treatment, and

education staff must collaborate to ensure that eligible inmates receive services in a safe and

secure environment. While the education program at Rikers has shown marked improvements

during the past two years, access to education for inmates age l8 to 21 is a persistent problem.


        East River Academy (ERA), the school on Rikers Island, is operated by District 79 of the

New York City Department of Education. The program serves youth aged l6 to             2l   in seven (7)

jails on the Island. Over the past two years I visited Rikers Island seven times for   a total   of l6

                                                                           Education Report, July 2018
                                                                                                         p.3
days. During these visits I observed classroom instruction and interviewed administrators,

teacherso BOE and DOC support staff, and students.            I also reviewed attendance records, IEPs3

and SEPsa, and related documents. During classroom observations, I obtained copies                  of

handouts, worksheets, and instructional materials. At the end of each visit, I debriefed with DOC

and DOE leadership and shared with them observations from the visit and made

recommendations. I conferred with DOE administrators from District #79 priorto and following

my visits to request additional documents and information. Discussion of each provision of the

Court's March 31,2016 order and the status of compliance follows.


1.      All eligible   inmates shall be provided a minimum of 3 hours of educational services

        every school     day.   Status:   partial compliance.


        Access to education services for the eligible population of inmates continues to be highly

variable.   All l6   and 17 year old youth at RNDC receive approximately five hours              of instruction

each school day, a level of service that exceeds the requirement of this provision.              At RNDC

classes start close to their scheduled time at the beginning of the school day and after lunch.

Because education is mandatory        for   l6   and 17 year olds at Rikers, the average attendance at


RNDC and RNDC Annex is the highest among all facilities in which ERA provides services.


        For l8 to    2l ye,arold   students at EMTC and GMDC5 the school operates approximately

five hours each day from 8:00 amto 2:20 pm with a break for lunch. However, at GRVC, NIC                      ,6


OBCC, and RMSC the education program is scheduled for three hours each school day. My

observationso review of sign-in sheets, and discussions with DOC staff and inmirtes on housing


3
  lndividualized Education Programs.
a
  Special Education Programs.
s
  An evening program at GMDC for 18 to 21 year old students operates for three hours each day.
6
  A few inmates at NlC, the North lnfirmary Command, receive education services.
                                                                                  Education Report, July 2018
                                                                                                             p.4
units show that many l8 to 21 year old youth enrolled in school in these facilities do not attend

school regularly. I found attendance and participation highly variable in the facilities serving

older youth. As I noted in my second report,T I interviewed a number of youth in different

facilities who were enrolled but not in school. Some students reported that they choose to attend

school only two or three days each week. Other youth did not attend because of conflicts

between the school schedule and the schedule for commissary, recreation, and services provided

by outside contractors such as I-CAN. Discussions with assigned school officers and unit staff

also revealed occasional miscommunication about school.s Because of miscommunication,

some students who wanted to attend school were never called down or escorted to classes.


           As I noted in my second report, some facilities serving 18 to         2l   year old students such as

GMDC and EMTC provide incentives for students attending school andlor have designated
osuccess
            houses' where inmates interested in education are grouped together. The attendance

data displayed in Tables       I   and 2 show a slightly higher average rate of attendance at these

facilities.


           I observed instruction in all classes when I visited facilities. In general, the quality of

instruction in most classes that I observed was good. At RNDC and most other sites, students

were actively engaged in reading, writing, and discussing the lessons. Students responded to

teachers' questions, contributed their thoughts about instructional activities, and interacted with

each other appropriately. For example, during a classroom observation at RNDC on March 15,

2018, I observed nine students vigorously discussing Nat Tumer in history class while one other

student was working independently on an economics lesson. The following day, March 16,2018



7
    Second Report on the Status of Education Services for Youth Aged 16-21 at Rikers lsland, December 17,20L7.
8
    On occasion school is cancelled because of specialized activities and facility lockdowns.
                                                                                      Education Report, July 2018
                                                                                                                 p.5
at GMDC, I observed seven students in another history class discussing the origins of WWII,

critiquing propaganda posters from that period, and defining and discussing terms like

totalitarianism, fascism, and appeasement. During my classroom visits over the past two years I

saw very   little horseplay, sleeping, or other inappropriate behavior in classrooms.e


         Tables   I and2 display enrollment and attendance            data from the 2017 and 2018 academic

years.r0 The evidence shows that during the 2017 academic year, on average between 7lo/o and

8l % youth assigned to the main school and the annex at RNDC serving 17 and I 8 year olds,

attended school. During January through March of the 2018 academic year that just concluded,

the average attendance at the main school and the RNDC annex ranged from                      82o/o   to   84o/o, a


slight increase over the previous year. At the remaining facilities serving students aged l8 to 21,

in2017 the average attendance ranged from 33 to 49Yo.1l lsee Table                  l.)   For these same facilities

serving older youth, for the first three months of 2018 the average attendance ranged from a low

of 27Yo to a high of     5l%o.12 (See Table 2.)



         For l8 to 2l year-old inmates on Rikers Island, education is optional. ERA staff actively

recruits l8 to   2l   year-old students to the education program. Staff regularly visits units to recruit

potentially eligible students who are age eligible but who at intake initially indicated that they

were not interested in attending school. With a few exceptionso most of these youth are placed at

EMTC, GMDC, GRVC, NIC, OBCC,                   ANd   RMSC.




s One might argue that the behavior in class is a function of the presence of correctional officers in class or in the
hallways immediately outside of class. While the presence of custody staff certainly has a deterrent effect on
inappropriate student behavior, I also believe that the quality of the instruction promoted student engagement
and consequently, appropriate behavior.
10
   These data were provided by the NYC Department of Education.
xr The NIC or infirmary, because of the low number of students, was excluded from this description,
12
   RSMC, the women's facility, also serves a small number of women aged 16 and 17.
                                                                                       Education Report, July 20L8
                                                                                                                      p.6
Tobte 1 Enrollment Jdnuory   -   March 20L7 and End of Yeor Attendance by           Site,13



                                      January           February             March             EOY
            Site                     Enrollment         Enrollment          Enrollment Attendance

            EMTC                               36                32                30                47o/o

            GMDC - Main                        98               103                97                43o/o

            GMDC - Peace Center                64                72                73                34o/o

            GRVC                                 9                 8                 3               34o/o

            Nlc                                  1                 1                 L               29o/o

            oBcc                               2L                z0                25                33o/o

            RMSC                               34                31                24                49%
            RNDC - Annex                       42                44                44                8Lo/o

            RNDC - Main                        LO4              105                86                7to/o


            Total                              409              4t6               383                52%



Table 2 Enrollment ond Attendonce by Site,lanuary' March, 20L814


                                     January                      February                            March
     Site                    Enrollment Attendance           Enrollment Attendance            Enrollment Attendance

     EMTC                             18          48o/o                L7          50%                 23      5Lo/o

     GMDC - Main                      99             3604              84          34o/o              82       35%
     GMDC - Main PM                   20             35%               13          35o/o               18      32o/o

     GMDC - Peace Center              37             38o/o             26          370h                2t      37o/o

     GRVC                              6             2704               4          27%                  5      30%
     oBcc                             T7          47o/o                t2          42o/o               LI      42o/o

     RMSC                             26             49%               2L          48o/o               25       49%
     RNDC - Annex                     32             82o/o             4t          83o/o               39       83%
     RNDC - Main                      87             84%               7Z          83o/o               75      84o/o



     Total                           342             53o/o         29r             52%               299       53o/o




x3
   Enrollment reflects the number of students who were on the site's register as of the last school day of the
month. Attendance reflects the year-to-date EOY (September 2016 to June 2017) ERA attendance rate (sum of
days present / sum of days enrolled). Students are assigned to sites in the attendance data based on their most
recent site of enrollment.
1a
   Enrollment reflects the number of students who were on the site's register as of the last school day of the
month. Attendance reflects the year-to-date ERA attendance rate (sum of days present / sum of days enrolled).
Students are assigned to sites in the attendance data based on their most recent site of enrollment.
                                                                                      Education Report, July 2018
                                                                                                                  p.7
Tables   I and2 reflect the declining enrollment in the ERA during the past two years. As the
population on Rikers continues to fall, the pool of inmates eligible for education coffespondingly

declines.




2.       Placement in a restricted housing unit does not change an eligible inmatets entitlement

         to educational services under any provision of this Order. Status: Partial Compliance


         During site visits in2017 and 2018 I observed classes in the RNDC Annex for youth in

three restrictive housing units: the TRU (Transitional Restorative Unit), the mental observation

unit, and protective custody. This group of l6 and 17 year old students, receive education

services and attend school in regular classrooms that arc similar to those used by other students

with the exception of additional DOC staff in the classrooms. The education services on these

restrictive units for l6 and l7 year-old students continue to be compliant with this provision.


         In contrast, services for older inmates in restrictive housing are not compliant with this

provision. In my first report issued February 2017,1 found the education services on the

restrictive housing units on GRVC and OBCC for older inmates minimally compliant. However,

during subsequent visits following interviews with students and staff, review of attendance

sheets, and my experience with elevated noise levels in the school areas I found the education

services inadequate and not compliant with this provision. In my most recent report issued in

December 2017,I found the City in partial compliance with this provision. While I believe the

education program at RNDC is in substantial compliance with this provision, the education

services at GRVC an OBCC are not in compliance.

                                                                           Education Repoft, July 2018
                                                                                                      p.8
        Eighteen to twenty'one year old students in the restricted housing units are scheduled to

attend school during a three-hour morning or three-hour aftemoon session at OBCC. At GRVC

instruction is scheduled from 8:30 to I l:30 am. A persistent problem at both GRVC and OBCC

is the lengthy delay in getting students from their cells and housing units to class. I requested

and obtained copies     ofthe sign in sheets for education on restrictive housing during January

2018 atOBCC and February 2018 at GRVC. Consistent with my December 2017 report, I found

that students consistently arrived late for class, were dismissed early, and in general did not

receive three hours of education services consistent with the Court's March 31,2016 order.15 For

example, during the week of January 8-12,2018, students in the restricted housing units at

OBCC arived on average one hour late to school and received an hour and l5 minutes of

instruction. During the week of February 5-8, 2018, one or two of six students at GRVC

regularly attended classes; they received on average one to one and a halfhours ofinstruction on

the days they attended.


        During my visit to the school program on the restrictive housing unit at OBCC on March

15,2018, I found students at their desks on time and ready to work at l2:30 pm for the afternoon

session. This was the first time during the past two years that I have been monitoring the

implementation of the Court's March          31 ,   2016 order that I found students in class at the start     of

school at OBCC.16 In addition to two teachers, the school counselor was also in class that day

meeting individually with students. According to several staff I interviewed, a new warden and




1s
   The Appendix provides a sample of redacted and annotated attendance sheets from OBCC in January 2018, The
attendance sheets for GRVC in February 2018 showed a similar pattern of attendance,
15
   During other visits, I often waited for a half an hour or more with teachers prior to any students arriving for
class. During some visits, I interviewed students in the housing units who were scheduled to be in class but were
not'
                                                                                     Education Report, July 2018
                                                                                                               p.9
deputy warden at OBCC resulted in a greater attention to education rights of students and

ensuring that they were in class on time.lT


         While lock downs and other disruptions occasionally result in the cancellation of classes,

students also have reported that some days they are not called down for classes. In addition to

showing arrival and departure times, the attendance sheets show that some students refuse to

attend some days. Interviews with student inmates, indicate that some choose not to attend

school every day. Others report that they want to attend but are called down late or not at all

some days. The record also shows atypical patterns of attendance. For example on January 9,

2018, at OBCC the sign-in sheet reported that nine students from five different housing units all

'orefused" to attend school.


         At OBCC, inmates are shackled to rings in the floor and are unable to have physical

contact any of the other students in the classroom.ls At GRVC the staff have limited the number

of students served at the same time and students are no longer shackled to rings in the floor. The

classroom space in both facilities is minimally adequate and when I visited OBCC on March                            l5

2018 the noise level was tolerable. The DOE has two teachers, dually certified in special

education and content areas, assigned to teach in the ESHU at OBCC and one dually certificated

teacher serving the restricted population at GRVC.



17
   The NYC Board of Correction in its July 2017 report, Assessment of Enhanced Supervision Housing (ESH) for
Young Adults, described chronic problems associated with ensuring that students on the enhanced secure units
arrive at school on time. They noted that on average, students arrived an hour late for classes. See
https://ti nvurl.com/v8l md uav.
18
   I continue to have concerns about the use of restraints on all students while in school on the restrictive housing
units for 18 to 21 year-olds. lt is difficult to gauge the necessity of restraints on all inmates during school on the
specialized units. However, the NYC Board of Correction in its July 20L7 report, Assessment of Enhonced
Supervision Housing (ESHI for Young Adults, reported that in other jurisdictions when restraint desks were used
they were part of "multi-level step-down programs designed to transition inmates out of punitive segregation or
similarly restrictive non-disciplinary segregation and back into general population or the community." This is not
the practice on the Enhanced Secure Housing units at Rikers. https://tinvurl.com/v8lmduav
                                                                                            Education Report, July 2018
                                                                                                                     p. 10
       The classroom space I observed at OBCC and GRVC during my December 2017 and

March 2018 visits was more conducive to learning than it had been previously. However, the

classroom at GRVC only has space for four or five students. This arrangement and an informal

policy of having just one of two students in the classroom at a time places a ceiling on the

number of youth who can be served as well as the amount of instruction students can receive.                If
more than five inmates on the restrictive housing unit in GRVC were interested in attending            it

would be impossible for them to do so. At the time of my visit, students were receiving

education on an individual basis for a maximum         of   1.5 hours per student each day.


       With the exception of students at RNDC, the jail for l6 and 17 year old inmateso those

placed on restrictive housing on OBCC and GRVC do not receive the minimum three hours                  of

education services each day. The evidence shows that the DOC and DOE are in partial

compliance with this provision.


3.     Unless stated explicitly to the contrary, any and all requirements setforth in this Order

       shall apply to all of the schools, educational programs, and methods of instruction

       operated by DOE in       DOCfacilities. Status: Substuntiul Compliance

       During my March 2l-22 visit this year, there were five inmates aged 18 to              2l atthe NIC,
a hospital   unit. According to staff, all   had indicated that they were not interested in participating

in the education program. Through discussion with teachers during my March 2018 visit, I

learned of an inmate student who was transferred to the West facility and did not receive

education for several months before he was subsequently transferred to a unit with a school

program.




                                                                                Education Report, July 2018
                                                                                                       p. 11
       Inmates aged 18   to2l   at detention centers or borough houses in Brooklyn, the Bronx,


Queens and Manhattan are screened within 24 hours of their incarceration to determine           if they

are interested in enrolling in the education program. When they indicate that they would like to

attend school they are transferred to a facility on Rikers Island with an education program. As

noted in my December20lT report, between December 1,2016 and              April 7,2017,37 inmates

from borough detention centers requested school services and 1l who remained in DOC custody

were transfemed to jails with education programs at Rikers Island.


       While the DOC and DOE make efforts to ensure that all inmates eligible and interested in

attending school are transferred to facilities with education programso on occasion inmates are

placed in facilities without services. Failure to place eligible inmates in jails with services occurs

but in my estimation is not a systematic problem. Both DOC and DOE leadership staff are well

aware of the education rights of inmates and strive to ensure those interested in attending school

receive services.


        DOC and DOE are in substantial compliance with this provision.


4.     DOC shall ensure that each eligible inmate is provided access to educationul services

        consistent with this Order in a timely manner, including     if   necessary   providing escorts

       for travel to anidTrom his or her place of educational instruction.       Stutus:   Partial

        Compliance


        The DOC has assigned correctional officers to serve as escorts to move students from

living units to school areas. Correctional officers maintain call down lists that they use to locate

and accompany students to school. Prior to the start of classes, some coffectional officers phone

units to prompt students to be ready when the officers stop by the units to pick them up.

                                                                             Education Report, July 2018
                                                                                                      p.L2
        Observations, review of call down lists, and discussion with the DOC escort staff suggest

that while access to school has improved, it is inconsistent. Some correctional officers assigned

to the schools, call units before the start of the school day. They inform staff that they will soon

be on the units to pick up students for school; for many units this process works as intended and

students arrive in the school area   within l5 minutes of the scheduled start time. However,

inmates I interviewed during my visits units reported that on some school days, escorts did not

come to their units to take them to school or anived more than an hour after the scheduled start

of school. On other units, staff reported incorrectly that school had been cancelled on one of the

days I visited when in fact, school was in session.


        The evidence shows that the DOC and DOE are in partial compliance on this item.




5.     Inmates who are disabled and identi/ied as in need of speciul education or related

        services shall receive such services, including when placed in a restricted housing unit

        or method of instruction.    If   necessary, an Individualized Educution Plan    ("IEP") or

        Special Education Plan ("SEP") may be modiJied in accordunce with 20 U.S.C. S

        1414(d) and 34 C.F.R. S 300.324, consistent with legitimate penal objectives,        In the

        event this occurs, such modiftcations shall be the least restrictive necessary to

        accommodate the secarity needs of the       jail.   Status: Substantiul Compliance


        Of the 366 students enrolled in the ERA on March 1,2017,144 or }%owerc receiving

special education services. On March I , 201 8, 85 students or 28oh of those enrolled were

receiving special education services. Interviews with staff and a review of files on site suggest

that ERA reviews files and interviews inmates for special education eligibility as they are placed

                                                                             Education Report, July 2018
                                                                                                    p. 13
at each facility. At intake, ERA staff interview         all l6 and 17 year-old inmates and l8 to 2l year

old inmates who have indicated that that are interested in attending school. Using the on-line

database, staff determines prior       NYC DOE enrollment. The STARS database enables counselors

to access transcripts, school history, and special education status for students. Staffrequests

records from other school districts for youth not previously enrolled in DOE schools. Staff obtain

IEPs and related special education documentation through SESIS, an on-line database.


           During my visits, I reviewed SEPs, talked with special education teachers, and observed

instruction for students eligible for special education services. I discussed with teachers and

counselors their service delivery and students on their rosters. I also interviewed students with

SEPs who were receiving special education services in the general population at each of the

facilities   as   well as on the restricted units at RNDC, OBCC, and GRVC. The evidence showed

that the process of identifying students and the services provided to students were consistent with

the requirements of this provision.


           In my December 2017 report, I described a review of SEPs (Special Education Programs)

and IEPs (Individualized Education Programs) that I conducted of a random sample of 20

students I selected from a roster of all students receiving special education at Rikers in March

2017. Nineteen of the 20 students were receiving services; one file sent to me was for a student

who had aged out and was no longer eligible for services.


           The 19 SEPs were similar to the previously developed IEPs for the students with a couple

of exceptions.le By design, IEPs contain much more detailed information about prior

evaluations, student needs, and transition activities than the SEPs. Both documents contain



1e
     Much of the information in this section is a restatement of material from the Second Report to the Court.
                                                                                        Education Repoft, July 2018
                                                                                                              p.74
information about present levels of performance, annual goals, and frequency and intensity of

services. For nearly all SEPs, I found comparable instructional in the same academic areas as on

the IEPs. On several IEPs I found several goals in reading and math and but only one broader

goal on the SEP in each of these area but at the same instructional level. The sample of SEPs I

reviewed showed nearly identical frequency and intensity            of   related services. For example, for

file#3,the student's IEP contained one reading, one writing, two math, and two counseling

goals. The SEP for this student contained one reading, one writing, one math, and one social

development goal. The related services for this student        -   40 minutes of individual counseling

once each weeko was identical on the IEP and the SEP. On the IEP for this student, the special

education services called for FT special education placement with a 15:1 (student:teacher) ratio.

The SEP had integrated instructional programming with              l:l pull-out of the general class five
times each week.20


           The IEP and SEP for student #13 contained similar instructional goals. The IEP called

for instruction in a general co-taught class with the support of a paraprofessional and no related

services. The SEP specified placement in co-taught classes with special education support in

science and social studies. The SEP also called for 40 minutes of counseling once each week, a

related services not found on the IEP.


           The evidence shows that the DOC and DOE are in substantial compliance on this

provision.




20
     The classes at Rikers typically have from 3-8 students.
                                                                                   Education Report, July 2018
                                                                                                            p. 15
Recommendations


      I   .   Develop a protocol for movement of inmate students from housing units to the school

              area   for each correctional facility served by the East River Academy. Ensure that

              conectional officers assigned to the school as well as officers on the living units are

              familiar with the protocol. Review school attendance including arrival times by units

              each month. Provide feedback and support to units    with low rates of attendance    and


              chronic late arrival times.

      2.      As   l6   and 17 year-old inmates are transferred from Rikers Island and the DOC to

              other facilities, expand the use of program houses for I 8 to 21 year olds. Provide

              support and incentives to increase the rate of attendance among I 8 to   2l   year olds

              who are enrolled in school but who do not affend regularly.

      3.      Review procedures and space for education services on the F.nhanced Secure Housing

              units. Carefully monitor arrival and departure times by units and for individual

              students. Continue regular meetings between DOC and DOE supervisory and

              administrative staff to ensure that eligible students who want to attend school are able

              to do so. Consider consolidating all education services for students in ESH units in

              one facility.

      4. Periodically monitor the movement          of l8 to 2l year olds from correctional facilities

              without education programs to facilities with education programs.

      5.      Review the use of escorts to transport students to school on each housing unit.

              Identify units that are successful in getting students to class on time and use that

              information and those procedures to inform and support other units that struggle with

              this requirement.

                                                                             Education Report, July 2018
                                                                                                    p. 16
6.   Periodically review the adequacy of education services for students with special

     needs. Ensure that SEPs are implemented and that students receive services to which

     they are entitled.




                                                                  Education Report, July 2018
                                                                                        p.t7
                                APPENDIX




Excerpts of School Attendance Sheets from OBCC Enhanced Secure Housing Unit


                               January, 201 8




                                                          Education Report, July 2018
                                                                                p. 18
                                                        ERA
                                                   tlE Eut River Acadcmy
                                                                                      sY 2017-2018

                                                                                      Site: OBCC
     Department of
     Education
                                                                                      oue4'l's

        Afternoon Session                                                             ffi
                                         Five of seven students were in class. Two were in court and
                                         three refused. The students in class arrived t hour and I hour
                                          and 45 minutes after the scheduled start of class. Instructional
                                         time for the students was 45 minutes and 60 minutes.
                                         oBcc sEcuRE (EsHU)

                                         A]TENDANCE SHEET


fr       Student's Name   Housing area    HS   /   TASC           Signature       Arrival   Departure
                                                                                  Time      Time/Comments
I                               3S             TASC
                                                                                            Q""tr*tl
2               I               3S             TASC
                                                                                            f.rtli^t l
      'fn
                                                            n
3                               3S             TASC
                                                               ,'CAq$
4              us               35                 HS
                                                                                  /iso"cir*I
                                                                                       7)1t
                                                                           e'
5                               3S             TASC
                                                                                      QJ'rnJ
6                               3S             TASC
                                                                Co,rr-f               Co'..rI
7                               3S             TASC
                                                                                 J:t< a
8                                                                                                "5o
9

10

11

13

t4
15

16
                                 rr6b

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                                               e*.
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                                                      ERA
                                                      Eart Rlvct AcldcmY
                                                                                      sY 2017-2018

                                                                                      Site:   OBCC
    Depailment of
    Education                                                                        ffi
        Mornin Session                               None of the students attended school. Students were from
                                                     five different housing units.




                                         oBcc sEcuRE (ESHUI

                                         ATTENDANCE SHEET



                                                                  Signature        Arrival    Departure
#       Studentn's Name   Housing area    HS   /   TA5C
                                                                                   Time       Tlme/Comments

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4                              1W              TASC
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6                              3SW             TASC
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    Depailment of
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    Education                                                                        Wffi
                                            Six of seven students on the roster attended. Arrival times were
         After noon Session                 from I to 2.25 hrs. after scheduled start time. Total
                                            instructional time for each student range from 45 minutes to

         ffi                                120 minutes. Students were all from unit 35.


                                          oBcc sEcuRE (ESHUI

                                          ATTENDANCE SHEET



                                                               Signature         Arrival     Departure
#         Student's Name   Housing area    HS   /TASC
                                                                                 Time        Tlme/Comments

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                                                                                        Site: OBCC

     Education
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                                          Five of nine students on the roster attended. Arrival times ranged

        Mo rntn Session                   from 20 minutes after the scheduled start of class. Instructional '
                                          time for students ranged from 55 to 155 minutes. Students were
                                          from five different housing units.


                                          oBcc sEcuRE (EsHul

                                           ATTENDANCE SHEET



#        Studentn's Name   Housing area     HS   /   TASC        Signature           Arrival   Departure
                                                                                     Time      Time/Comments

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                                                                                      sY 2017-2018

                                                                                      Site:   OBCC
     Department of
     Education
                                                                                      W
                                         Five of seven students on the roster attended. Two students

        Afternoon Session                refused. Arrival times ranged from 1.5 to 2.5 hrs. after scheduled
                                         start time. Total instructional time for each student ranged from
                                         30 minutes to 90 minutes. All students were from the same
                                         housing unit, 35. All students except one were working on their
                                         TASC, a high school equivalency certificate.
                                          oBcc sEcuRE (ESHU)

                                          ATTENDANCE SHEET



                                                                     Signature     Arrlval    Departure
#        Student's Name   Houslng area     Hs   /   TASC
                                                                                   Time       Time/Comments

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                                                                                      sY 2017-2018

                                                                                      Site:   OBCC

     Education
                                                                                    ffi
                                         Two of nine students on the roster attended. Three students
                                         were in court and four students refused. Students arrived 25 and
        Mornin Session                   45 minutes late. Instructional time for one student was 90
                                         minutes; for the other, 60 minutes. Both students were working
        ffi                              on their TASC, a high school equivalency certificate. Students
                                         were from five different housing units.
                                         oBcc sEcuRE (EsHu)

                                         ATTENDANCE SHEET



#         Studenfs Name   Housing area    HS   / TAsc            Signature         Arrival    Departure
                                                                                   Time       Time/Comments

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